               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                        ABINGDON DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )     Case No. 1:16CR00041-15
                                              )
v.                                            )             OPINION
                                              )
SHAUNA NICOLE CHAFIN,                         )     By: James P. Jones
                                              )     United States District Judge
                 Defendant.                   )

      Zachary T. Lee, Assistant United States Attorney, Abingdon, Virginia, for
United States; Shauna Nicole Chafin, Defendant Pro Se.

      The defendant, proceeding pro se, has filed a motion seeking relief under 28

U.S.C. § 2255. The United States has filed a motion to dismiss, to which the

movant has responded. For the reasons stated, I will grant the motion to dismiss

and dismiss the § 2255 motion.

      After pleading guilty without the benefit of a plea agreement, the defendant

was sentenced by this court on June 21, 2017, to a term of 97 months

imprisonment on Count I of the Indictment, which charged the defendant with

conspiring to manufacture, distribute, and possess with the intent to distribute

methamphetamine, in violation of 21 U.S.C. § 841, and conspiring to knowingly

and intentionally use a communication facility in committing the offense, in

violation of 21 U.S.C. § 843(b).




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      In her § 2255 motion, the defendant contends that her counsel was

ineffective in failing to request a minor or minimal role reduction pursuant to U.S.

Sentencing Guidelines Manual (“USSG”).

      To state a viable claim for relief under § 2255, a defendant must prove: (1)

that her sentence was “imposed in violation of the Constitution or laws of the

United States”; (2) that “the court was without jurisdiction to impose such

sentence”; or (3) that “the sentence was in excess of the maximum authorized by

law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). The movant

bears the burden of proving grounds for a collateral attack by a preponderance of

the evidence. Miller v. United States, 261 F.2d 546, 547 (4th Cir. 1958).

      Criminal defendants have a Sixth Amendment right to effective legal

assistance. Strickland v. Washington, 466 U.S. 668, 687 (1984).          Ineffective

assistance claims, however, are not lightly granted — “[t]he benchmark for judging

any claim of ineffectiveness must be whether counsel’s conduct so undermined the

proper functioning of the adversarial process that the [proceeding] cannot be relied

on as having produced a just result.” Id. at 686. To that end, a defendant must

satisfy a two-prong analysis showing both that counsel’s performance fell below an

objective standard of reasonableness and that the defendant was prejudiced by

counsel’s alleged deficient performance. Id. at 687. To satisfy the prejudice prong

of Strickland, a defendant must show that there is a reasonable probability that, but


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for counsel’s unprofessional error, the outcome of the proceeding would have been

different. Id. at 694.

      The sentencing guideline upon which Chafin relies states:

               Based on the defendant’s role in the offense, decrease the

      offense level as follows:

               (a) If the defendant was a minimal participant in any criminal
                   activity, decrease by 4 levels.

               (b) If the defendant was a minor participant in any criminal
                   activity, decrease by 2 levels.

      In cases falling between (a) and (b), decrease by 3 levels.

USSG § 3B1.2

      Chafin has not shown that her counsel’s failure to request such a reduction

was an unprofessional error or that it prejudiced her. Had her counsel made such a

request, I would have denied it because she was not a minor or minimal

participant.

      As detailed by the United States during her guilty plea hearing, Chafin

received methamphetamine from her coconspirators, which she then distributed.

Chafin expressly stated under oath that she did not contest these facts recited by

the prosecutor. At her sentencing hearing, I heard evidence that a confidential

informant purchased more than three grams of methamphetamine from Chafin in

one transaction.     On another occasion, Chafin was found in possession of


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distribution quantities of methamphetamine. Approximately two months after she

was arrested on the Indictment in this case, she sold drugs again as part of a

separate conspiracy involving different coconspirators.

      The government requested an upward variance in her sentence, and the

defendant requested a downward departure, in part because Chafin cooperated with

the government. I carefully considered all the evidence and arguments made on

behalf of the United States and the defendant, and I imposed a sentence that I

found to be sufficient but not greater than necessary to comply with the required

purposes. I noted that Chafin’s conduct was very serious and stated that I did not

believe a downward variance or departure was appropriate in this case. I sentenced

Chafin at the high end of the guideline range. I indicated that I believed it would

be difficult to deter Chafin from further criminal conduct and predicted that she

was likely to sell drugs again in the future. I concluded that a lengthy term of

imprisonment was necessary to protect the public.

      Chafin has not pointed to any evidence that would warrant a minor role

reduction. In fact, she played an active and significant role in the conspiracy by

obtaining substantial quantities of methamphetamine directly from Brandon Stone

and Tracy Callihan, who were key players in the conspiracy, and then distributing

it. The evidence presented at her guilty plea hearing and sentencing hearing was

sufficient to support her sentence and showed that she was not entitled to a minor


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role reduction. Therefore, her counsel was not ineffective for failing to request

one, as she has not established prejudice for this alleged omission.

      For these reasons, the United States’ motion to dismiss will be granted and

the § 2255 motion will be dismissed. A separate final order will be entered

herewith.

                                               DATED: February 12, 2019

                                               /s/ James P. Jones
                                               United States District Judge




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